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Attorneys for Plaintiffs

                     UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF WYOMING



CHARLES B. FLICKINGER; BENJAMIN
D. FLICKINGER; and CHARLES B.
FLICKINGER as parent of A.R.F., his
minor child.
                                                       Civil No.
       Plaintiffs,
                                                 COMPLAINT & JURY DEMAND



FCA US, LLC,a Delaware limited liability
company.


       Defendant.



       Plaintiffs, by and through their attorneys, Robert A. BCrause, Mel C. Orchard, III,

and Elizabeth A. Richards, of The Spence Law Firm, LLC,plead and allege their causes

ofaction against Defendant as follows:

                                         PARTIES


1.      Plaintiff Charles Flickinger was seriously injured when the 1999 Jeep Grand

        Cherokee Limited (Jeep) in which he was a passenger rolled, and the Jeep's roof
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       collapsed and crushed him.

2.     Charles Flickinger is, and has been at all times relevant to the facts alleged in this

       Complaint, a resident of Wyoming who is a citizen of Wyoming for the purpose

      of determining diversity.

3.    Plaintiff Benjamin Flickinger was the driver ofthe Jeep at the time ofthe crash,

      and is the adult son of Charles Flickinger.

4.     Benjamin Flickinger is, and has been at all times relevant to the facts alleged in

      this Complaint, a resident of Wyoming who is a citizen of Wyoming for the

       purpose of determining diversity.

5.     Plaintiff A.R.F. was a passenger in the Jeep at the time ofthe crash, and is the

       minor child of Charles Flickinger.

6.     A.R.F. is, and has been at all times relevant to the facts alleged in this Complaint,

       a resident of Wyoming who is a citizen of Wyoming for the purpose of

       determining diversity.

7.     The Chrysler Corporation was founded in 1925.

8.     In 1998,the company merged with German automaker Daimler-Benz AG to form

       the DaimlerChrysler Corporation.

9.     In 2007,the company converted to a limited liability company, DaimlerChrysler

       Company, LLC,and then became Chrysler, LLC (Chrysler).

10.    On April 30, 2009, Chrysler and certain of its affiliates filed a pre-packaged

       bankruptcy petition in the United States Bankruptcy Court for the Southern

       District of New York.

11.    Chrysler became known as Old Carco, LLC(Old Carco).
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12.   On or about April 28,2009,a new acquisition company. New CarCo Acquisition,

      LLC(New CarCo), was formed.

13.   On April 30,2009,New CarCo entered into a Master Transaction Agreement

      (MTA)under which it agreed to purchase substantially all of the assets of

       Chrysler/Old Carco and its affiliated debtors, and to assume certain liabilities.

14.   The sale closed on June 10,2009(the Closing).

15.   On or about June 10, 2009, New CarCo changed its name to Chrysler Group, LLC

      (Chrysler Group).

16.    Under Amendment No.4 ofthe MTA,Section 2.08(h), Chrysler Group assumed

       liability for claims arising from motor vehicle accidents occurring after the

       Closing, and involving a Jeep brand vehicle manufactured and sold prior to the

       Closing.

17.    Specifically, Chrysler Group assumed liability for the following:

      (h)(i) all Product Liability Claims arising from the sale after the Closing
      of Products or Inventory manufactured by Sellers or the Subsidiaries in
      whole or in part prior to the Closing and (ii) all Product Liability Claims
      arising from the sale on or prior to the Closing of motor vehicles or
      component parts, in each case manufactured by Sellers or their
       Subsidiaries and distributed and sold as a Chrysler, Jeep or Dodge brand
       vehicle or MOPAR brand part, solely to the extent such Product Liability
       Claims (A) arise directly from motor vehicle accidents occurring on or
       after Closing,(B) are not barred by and statute of limitations,(C) are not
       claims including or related to any alleged exposure to any asbestos-
       containing material or any other Hazardous Material and (D) do not
       include any claim for exemplary or punitive damages.

18.    The term "Product Liability Claim" is defined in the MTA as follows:

       "Product Liability Claim" means any Action arising out of, or otherwise
       relating to in any way in respect of claims for personal injury, wrongful
       death or property damage resulting from exposure to, or any other
       warranty claims, refunds, rebates, property damage, product recalls,
       defective material claims, merchandise returns and/or any similar claims.
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       or any other claim or cause of action, whether such claim is known or
       unknown or asserted or unassorted with respect to, Products or items
       purchased, sold, consigned, marketed, stored, delivered, distributed or
       transported by the Company Business, any Selling Group Member or any
       of its Subsidiaries, whether such claims or causes of action are known or
       unknown or asserted or unassorted.


19.    In December 2014, Chrysler Group became defendant FCA US,LLC(FCA).

20.    As set forth above, FCA assumed liability for the claims and damages alleged in

       this Complaint.

21.    One or more ofthe pre-bankruptcy entities(Old Carco LLC,Chrysler LLC,

       DaimlerChrysler Company LLC,DaimlerChrysler Corporation, and/or Chrysler

       Corporation (hereafter and collectively "Old Chrysler")) designed, tested,

       manufactured, labeled, inspected, assembled, distributed, monitored, promoted,

       marketed and/or sold the Jeep Grand Cherokee model, including the Jeep

       involved in this case.


22.    On information and belief, DaimlerChrysler Corporation manufactured the Jeep

       involved in this case.


23.    FCA assumed liability for the acts and omissions of Old Chrysler related to the

       Jeep Grand Cherokee model, including the Jeep involved in this case, as alleged

       herein.


24.    FCA is a Delaware limited liability company whose sole member is FCA North

       America Holdings, LLC. FCA North America Holdings, LLC,is a Delaware

       limited liability company whose sole member is Fiat Chrysler Automobiles N.V.

       Fiat Chrysler Automobiles N.V. is a publicly traded company incorporated under

       the laws of the Netherlands. Fiat Chrysler Automobiles N.V. is headquartered in

       London, England.
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25.    For purposes of determining diversity, FCA is a citizen ofa foreign state. FCA is

       a citizen of the state in which its sole member,FCA North America Holdings,

       LLC,is a citizen. FCA North America Holdings, LLC,is a citizen ofthe state in

       which its sole member. Fiat Chrysler Automobiles N.V. is a citizen. Based on the

      above and 28 U.S.C. § 1332(c)(1), the citizenship of Fiat Chrysler Automobiles

       N.V.(and therefore the citizenship of FCA North America Holdings, LLC,and

       FCA)is its place ofincorporation (the Netherlands) and its principal place of

       business(England/Great Britain).

26.    FCA is not a citizen of Wyoming.

27.    FCA's registered agent on file with the Wyoming Secretary of State is CT

       Corporation System, 1908 Thomes Ave., Cheyenne, Wyoming,82001.

28.    FCA is a company,and as such can only act through its agents, servants and/or

       employees and it is liable for the acts and omissions of its agents, servants and/or

       employees.

29.    Because FCA assumed liability for the acts and omissions of Old Chrysler, as

       alleged herein, FCA is liable for the acts and omissions of the agents, servants

       and/or employees of Old Chrysler.

                                  JURISDICTION AND VENUE


30.    Plaintiffs incorporate and adopt by reference all the facts and allegations above as

       though fully set forth herein.

31.    This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

       1332(a)(2) because the suit is between citizens of a State and a citizen of a foreign
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      state, and the amount in controversy exceeds seventy-five thousand dollars

      ($75,000)exclusive of interest and costs.

32.   Pursuant to 28 U.S.C. §1391, proper venue for this action is the United States

      District Court for the District of Wyoming because a substantial part of the events

      giving rise to the claim occurred within the District of Wyoming.

33.   This Court has general personal jurisdiction over FCA because it conducts

      continuous and systematic business in Wyoming.

34.   This Court has specific personal jurisdiction over FCA because FCA purposefully

       availed itself of the privilege of conducting activities in Wyoming,and Plaintiffs'

       damages arise out of or relate to those activities. FCA purposefully placed its

       vehicles into the stream ofcommerce within Wyoming and throughout the United

       States, and placed its vehicles into the stream ofcommerce with awareness that

       the product was being marketed in Wyoming.

35.    Dealerships that sell and service FCA's products, including vehicles sold under

       the brand names Jeep, Chrysler, and Dodge,operate throughout Wyoming.

36.    Charles Flickinger purchased the Jeep in Wyoming.

37.    The crash and resulting injuries and damages occurred in Wyoming.

38.    On information and belief, FCA derived significant revenue from the sale of

       vehicles in Wyoming.

39.    On information and belief, FCA expected and/or reasonably should have expected

       the sale of its vehicles to have consequences in Wyoming.

40.    FCA is registered with the Wyoming Secretary of State to do business in

       Wyoming.
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41.    Maintaining jurisdiction over FCA does not work a constitutionally prohibited

       hardship or a denial of Due Process.

                                       STATEMENT OF FACTS

42.    Plaintiffs incorporate and adopt by reference all the facts and allegations above as

       though fully set forth herein.

43.    On March 22, 2015, Benjamin Flickinger was driving the Jeep (V.I.N.

       1J4GW68NXXC771925)north on U.S. Highway 20 in the Wind River Canyon in

       Fremont County, Wyoming.

44.    The Jeep was designed, tested, and manufactured by Old Chrysler.

45.    On information and belief, the Jeep was not altered or modified from its original

       design.

46.    Charles Flickinger was wearing his seatbelt in the front passenger seat.

47.    A.R.F. was also a passenger in the Jeep.

48.    At about 10:00 p.m., a tire ofthe Jeep struck a rock that had fallen onto the road.

49.    The rock catastrophically blew out the tire, causing the Jeep to swerve, roll over,

       and come to rest on its roof.

50.    During the rollover, the roof structure, occupant restraint system, stability system,

       and/or occupant protection systems failed. Charles Flickinger experienced

       significant impacts with the roof and/or interior vehicle components, and suffered

       serious injuries.

51.    Charles Flickinger had to be extricated from the vehicle by emergency

       responders.
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52.    He was transported via life flight from the scene ofthe crash to the Wyoming

       Medical Center in Casper, Wyoming, where he was treated emergently in the

       early morning hours of March 23.

53.    Due to the severity of Charles Flickinger's cervical fractures and paralysis, the

       healthcare providers at the Wyoming Medical Center decided to transfer him by

       helicopter to Swedish Medical Center in Englewood, Colorado, for a higher level

       ofcare.


54.    At about 5:40 a.m. on March 23, Charles Flickinger arrived in the emergency

       room at Swedish Medical Center, where he was treated for about two weeks

       before being transferred to Craig Hospital on April 6 for more intensive treatment

       and rehabilitation.


55.    Charles Flickinger spent the next three months receiving inpatient care at Craig

       Hospital.

56.    On July 7, he was discharged to outpatient care at Craig Hospital, where he

       continued to receive treatment for about another month until he was finally

       discharged home to Cody, Wyoming, where he continues to recover.

57.    As a direct and proximate result ofthe acts and omissions alleged herein, Charles

       Flickinger sustained serious bodily and emotional injuries.

58.    Charles Flickinger's physical injuries include, but are not limited to, the

       following:

      a. tetraplegia;

      b. cervical spine fractures;

      c. spinal cord injury; and
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      d. closed head injury.

59.    As a direct and proximate result ofthe acts and omissions alleged herein,

       Benjamin Flickinger and A.R.F. witnessed and/or perceived the serious crash, the

       immediate aftermath of the crash and the serious physical injuries suffered by

       their father, Charles Flickinger.

60.    Benjamin Flickinger and A.R.F. observed and/or perceived the serious crash and

       the infliction of serious bodily harm, and/or observed the serious bodily harm

       shortly after its occurrence but without a material change in the condition and

       location of Charles Flickinger.

61.    At the time Benjamin Flickinger and A.R.F. witnessed the event, each realized

       and/or perceived that the crash and the injuries of Charles Flickinger were serious.

                                 FIRST CAUSE OF ACTION
                  PRODUCT LIABILITY- STRICT LIABILITY IN TORT


62.    Plaintiffs incorporate and adopt by reference all the facts and allegations above as

       though fully set forth herein.

63.    In the allegations that follow,the phrase "FCA (through Old Chrysler)" is used to

       denote FCA's assumption of Old Chrysler's liabilities in the bankruptcy

        proceedings, as set forth above.

64.     At all times relevant to this Complaint, FCA (through Old Chrysler) was in the

        business of designing, testing, manufacturing, assembling, distributing, labeling,

        inspecting, monitoring, promoting, marketing, selling and/or placing into the

       stream of commerce its vehicles, including the Jeep involved in this case.

65.     At the time the Jeep left the control ofFCA (through Old Chrysler), it was in a

        defective condition and unreasonably dangerous to a person who might
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       reasonably be expected to use it.

66.    The Jeep was defective and unreasonably dangerous when FCA (through Old

       Chrysler) placed it into the stream of commerce.

67.    At the time ofthe incident giving rise to this action, Plaintiffs were using the Jeep

       in an intended, reasonable, and foreseeable manner and for its intended and

       reasonably foreseeable purpose.

68.    On information and belief, the Jeep was intended to and did reach the owners and

       passengers without a substantial change in the condition in which it was sold.

69.    FCA (through Old Chrysler) knew or should have known of the defective and/or

       unreasonably dangerous condition ofthe Jeep at the time it left FCA's(through

       Old Chrysler's) control, and of the substantial dangers involved in the reasonably

       foreseeable use of the Jeep.

70.    FCA (through Old Chrysler) knew or should have known that ultimate users,

       operators, and/or consumers would not properly inspect the Jeep for defects and

       dangerous conditions, and that detection of such defects would be beyond the

       capabilities of such persons, including Plaintiffs.

71.    The Jeep was not materially altered, modified, or damaged by Plaintiffs prior to

       the subject incident. At the time the Jeep left FCA's(through Old Chrysler's)

       control and entered the stream of commerce,it was unreasonably dangerous,

       defective, and unsafe for its intended use.

72.    The design and structure of the Jeep include, but are not limited to, the following

       defects, which individually or in combination, proximately caused Plaintiffs'

       injuries and damages:




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      a. The design and structure was defective and unreasonably dangerous in that the

         roof or ceiling ofthe vehicle collapsed, tented, and/or became deformed during

         a foreseeable rollover incident sequence;

      b. The roof structure of the vehicle was defective and unreasonably dangerous in

         that it provided no roof or ceiling support in the event ofa foreseeable rollover

         incident sequence, and lacked adequate strength of roof material such that

         during a foreseeable rollover sequence, an occupant would be injured by the

         roof;

      c. The Jeep was designed and equipped with a seatbelt system that failed to

         provide appropriate and necessary restraint during a foreseeable rollover

         sequence; and/or

      d. The interior surfaces of the occupant space had inadequate padding.

73.    The Jeep was further rendered unreasonably dangerous and defective for the

       following reasons:

      a. The failure to equip the vehicle with a technologically feasible and available

         structure which would prevent the rooffrom collapsing during a foreseeable

         rollover sequence;

      b. The failure to adequately test the vehicle before and during the design,

         manufacture, production, and sale ofthe vehicle to the public, and/or knowingly

         placing the dangerously designed and/or manufactured vehicle into the stream

         ofcommerce;

      c. The failure to make the vehicle reasonably crashworthy;




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      d. The failure to provide an adequate warning ofthe dangers of driving and/or

         riding in the vehicle with its defective design and/or manufacture as set forth

         above; and/or

      e. The failure to adequately monitor the performance of the vehicle and of prior

         model vehicles in the field to ensure that the vehicle and its components were

         safely designed and provided adequate protection in foreseeable rollover

         incident sequences.

74.    FCA (through Old Chrysler)knew or should have known that safer alternative

       designs were available which would have prevented Plaintiffs' injuries and

       damages had they been utilized.

75.    The Jeep caused physical harm to Charles Flickinger in that it failed to protect

        him from the impacts of the rollover. As a direct and proximate result ofthe

        Jeep's defective condition, Charles Flickinger was seriously injured, and

        Benjamin Flickinger and A.R.F. suffered emotional distress.

76.     For these reasons, FCA (through Old Chrysler) is strictly liable in tort for the

        injuries suffered by Plaintiffs as set forth above, and for the damages more

        specifically detailed in the "Damages" section ofthis Complaint.

                                SECOND CAUSE OF ACTION
                             PRODUCT LIABILITY- NEGLIGENCE

77.     Plaintiffs incorporate and adopt by reference all the facts and allegations above as

        though fully set forth herein.

78.     At the time and place ofthe events described herein, FCA (through Old Chrysler)

        owed a duty of care to Plaintiffs to avoid causing them injury.




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79.    FCA (through Old Chrysler) was negligent in designing, manufacturing,

       assembling, inspecting, testing, labeling, marketing, distributing, monitoring,

       promoting, and/or selling the Jeep.

80.    FCA (through Old Chrysler) breached its duty to Plaintiffs by placing the Jeep in

       the stream of commerce in an unreasonably dangerous, defective, and unsafe

       condition for its intended use, as explained above.

81.    At the time and place of the vehicle's manufacture and ofthe events described

       herein, FCA (through Old Chrysler) breached the duty of care through, among

       other things, the following acts and omissions:

      a. Failing to equip the vehicle with a technologically feasible and available

         structure which would prevent the rooffrom collapsing during a foreseeable

         rollover sequence;

      b. Failing to adequately test the vehicle before and during the design, manufacture,

         production, and sale ofthe vehicle to the public, and/or knowingly placing the

         dangerously designed and/or manufactured vehicle into the stream of

         commerce;


      c. Failing to make the vehicle reasonably crashworthy;

      d. Failing to provide an adequate warning ofthe dangers ofdriving and/or riding

         in the vehicle with its defective design and/or manufacture as set forth above;

      e. Failing to adequately monitor the performance ofthe vehicle and of prior model

          vehicles in the field to ensure that the vehicle and its components were safely

          designed and provided adequate protection in foreseeable rollover incident

          sequences;




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      f. Failing to properly design, test and manufacture the Jeep and its component

         parts in a manner sufficient to protect the safety of vehicle occupants in the

         event of a crash; and

      g. Failing to exercise reasonable care under the circumstances.

82.    FCA's(through Old Chrysler's) negligent acts and omissions breached its duty to

       Plaintiffs, and directly and proximately caused their injuries, and the damages

       more specifically detailed in the "Damages" section of this Complaint.

                                       THIRD CAUSE OF ACTION
                                 LOSS OF PARENTAL CONSORTIUM


83.    Plaintiffs incorporate and adopt by reference all the facts and allegations above as

       though fully set forth herein

84.     At the time and place ofthe events described herein, FCA (through Old Chrysler)

       owed a duty ofcare to Charles Flickinger and his minor child, A.R.F.,to avoid

        causing them injury.

85.     The acts and omissions ofFCA (through Old Chrysler) breached the duty of care

        it owed A.R.F.


86.     Prior to the injuries sustained by Charles Flickinger, he was able to perform his

        duties as a father to his minor child, A.R.F., including but not limited to parental

        care, training, companionship, nurturing, guidance, supervisions, socialization,

        and other care, comfort and society.

87.     As a direct and proximate result ofthe acts and omissions of FCA (through Old

        Chrysler), Charles Flickinger is unable to perform the work and services he

        customarily performed prior to his injuries as a parent in the care, comfort and

        society of his minor child, A.R.F. As a direct and proximate result ofthe acts and


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       omissions ofFCA (through Old Chrysler), A.R.F. has been and will continue to

       be deprived of her father's care, comfort and society.

88.    As a direct and proximate result of FCA's(through Old Chrysler's) acts and

       omissions, A.R.F. suffered the damages set forth above and in the "Damages"

       section ofthis Complaint.

                           FOURTH CAUSE OF ACTION
                  NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

89.    Plaintiffs incorporate and adopt by reference all the facts and allegations above as

       though fully set forth herein.

90.    At the time and the place of the events described herein, FCA (through Old

       Chrysler)owed a duty ofcare to Benjamin Flickinger and A.R.F. to avoid causing

       them injury.

91.    Benjamin Flickinger and A.R.F. are within the class of persons entitled under

       Wyoming law to bring a claim for negligent infliction of emotional distress that is

       based upon the serious injuries suffered by their father, Charles Flickinger.

92.    Charles Flickinger suffered serious bodily injury as that term is defined in the

       Wyoming Criminal Code.

93.    Benjamin Flickinger and A.R.F. were with Charles Flickinger at the time ofthe

       crash and observed and/or perceived the infliction of serious injuries, or observed

       the serious injuries shortly after their occurrence, but without a material change in

       the condition and location of Charles Flickinger.

94.    Benjamin Flickinger and A.R.F. realized at the time they witnessed the event that

       the injuries were serious.




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95.    Benjamin Flickinger and A.R.F. were involved in the crash, and witnessed the

       crash and its immediate aftermath, and suffered emotional distress as a result

       thereof.


96.    As a direct and proximate result of FCA's(through Old Chrysler's) acts and

       omissions as alleged herein, Benjamin Flickinger and A.R.F. suffered emotional

       injuries as set forth above and in the "Damages" section ofthe Complaint.

                                            DAMAGES


97.    Plaintiffs incorporate and adopt by reference all the facts and allegations above as

       though fully set forth herein.

98.    As a direct result ofFCA's(through Old Chrysler's) acts and omissions, as set

       forth in this Complaint, Charles Flickinger is entitled to be compensated and to

       recover the following damages:

      a. Past and future physical pain and suffering in an amount to be proven at trial;

      b. Past and future emotional pain and suffering in an amount to be proven at trial;

      c. Past and future loss ofenjoyment of life in an amount to be proven at trial:

      d. Past and future loss of wages,income and earning capacity in an amount to be

         proven at trial;

      e. Other past and future pecuniary loss in an amount to be proven at trial;

      f. Past and future medical and related expenses in an amount to be proven at trial;

         and


      g. Costs of this action, and any other further relief allowed by law as this Court

         deemsjust and proper.




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99.     As a direct result of FCA's(through Old Chrysler's) acts and omissions, as set

        forth in this Complaint, A.R.F. is entitled to be compensated and to recover the

        following damages:

       a. Emotional distress damages in an amount to be proven at trial;

       b. Loss ofconsortium of her father, Charles Flickinger, in an amount to be proven

          at trial; and

       c. Costs ofthis action, and any other further relief allowed by law as this Court

          deemsjust and proper.

100.    As a direct result of FCA's(through Old Chrysler's) acts and omissions, as set

        forth in this Complaint, Benjamin Flickinger is entitled to be compensated and to

        recover the following damages:

       a. Emotional distress damages in an amount to be proven at trial; and

       b. Costs ofthis action, and any other further relief allowed by law as this Court

          deemsjust and proper.

       WHEREFORE,Plaintiffs request that this Court enterjudgment against FCA in an

amount supported by the allegations of this Complaint, as follows:

         1.     Judgment against FCA for general damages in an amount consistent with

                the allegations contained herein and to be proved at trial;

         2.     Judgment against FCA for special damages in an amount consistent with

                the allegations contained herein and to be proved at trial; and

         3.     Judgment for costs, interest and such other and further relief as the Court

                deems just and equitable.




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DATED this    day of July 2017.



                                                  BCrause
                                        Mel C. Orchard, III
                                        Elizabeth A. Richards
                                        THE SPENCE LAW FIRM,LLC
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                                        Attorneys for Plaintiffs




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                             DEMAND FOR JURY TRIAL


       Plaintiffs, by and through counsel and pursuant to Federal Rule of Civil Procedure

38, hereby request that this matter be tried to a jury of six and submit the requisite fee

herewith.




       DATED this l^^day of July 2017.




                                                              'A. Krause




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